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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                          Plaintiff,               Crim. No. 11-cr-20540
                                                   Civ. No. 14-cv-11919
 vs.                                               Hon. Gerald E. Rosen

 REHAN KHAN,

                     Defendant.
 ________________________________/

   OPINION AND ORDER (1) DENYING § 2255 MOTION TO VACATE, SET
    ASIDE, OR CORRECT SENTENCE, (2) DENYING CERTIFICATE OF
        APPEALABILITY, AND (3) DENYING LEAVE TO APPEAL
                       IN FORMA PAUPERIS

                         At a session of said Court, held in
                        the U.S. Courthouse, Detroit, Michigan
                          on November 10, 2016

                          PRESENT: Honorable Gerald E. Rosen
                                   United States District Judge

                               I. INTRODUCTION

       Rehan Khan was indicted, along with 15 co-defendants, on charges of

 conspiracy to commit health care fraud in violation of 18 U.S.C. § 1349. The First

 Superseding Indictment also charged Khan with one count of conspiracy to pay

 and receive kickbacks and two counts of money laundering.


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       On June 26, 2012, Khan pleaded guilty, pursuant to a Rule 11 Plea

 Agreement, to one count of health care fraud conspiracy. Under the Plea

 Agreement, Defendant agreed that his applicable Guidelines sentencing range was

 57-71 months. On May 13, 2013, Khan was sentenced to a term of 60 months’

 imprisonment, to be followed by two years of supervised release, and ordered to

 pay $1,789,234.74 in restitution. The Court further entered a money judgment of

 $13,888,930.00 against Khan, jointly and severally, and ordered the forfeiture of

 $113,479.58 in seized assets. Kahn did not appeal his sentence or conviction.1

       On May 13, 2014, Khan filed the instant Motion pursuant to 28 U.S.C. §

 2255 to vacate, set aside, or correct his sentence. As grounds for § 2255 relief,

 Defendant Khan claims (1) that he received ineffective assistance of counsel

 during plea negotiations and at sentencing; and (2) that the Court improperly used

 facts not found by a jury to enhance his sentence, and therefore, under Alleyne v.

 United States, 133 S.Ct. 2151 (2013), his sentenced must be vacated.

                                    II. DISCUSSION

 A.    DEFENDANT’S CLAIM OF INEFFECTIVE ASSISTANCE OF

       COUNSEL


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          In the plea agreement, Khan waived his right to appeal his conviction and
 sentence. See Plea Agreement, ¶ 6.

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       Defendant Khan claims that ineffective assistance of counsel during plea

 negotiations and sentencing resulted in a longer sentence than the 0-6 months he

 contends should have been his applicable Guidelines range. Specifically Khan

 claims that (1) counsel failed to explain that the charge to which he pled guilty in

 the plea agreement would result in a higher Guidelines range than the offense

 charged in Count 1 of the First Superseding Indictment; (2) counsel failed to

 inform him that the Government had not proved all of the elements of the health

 care fraud conspiracy offense; (3) counsel failed to negotiate a more favorable plea

 deal; (4) counsel failed to file written objections to the Pre-Sentence Investigation

 Report; and (5) at sentencing, counsel did not object to the court’s calculation of

 the Guidelines range and failed to comply with 18 U.S.C. § 3553(a) thereby failing

 to preserve those issues for appeal. For the reasons that follow, the Court finds no

 merit in any of Defendant’s claims of ineffective assistance of counsel.

       The requirements for demonstrating ineffective assistance of counsel were

 established by the United States Supreme Court in Strickland v. Washington, 406

 U.S. 668, 104 S.Ct. 2052 (1984). To establish ineffective assistance of counsel, it

 must be shown (1) that counsel’s performance was deficient and (2) that the

 deficient performance prejudiced the defense. 406 U.S. at 687, 104 S.Ct. at 2064.

       The proper standard for assessing an attorney’s performance is that of

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 reasonably effective assistance. Id. Thus, a guilty plea cannot be attacked as

 based on inadequate legal advice unless counsel was not “a reasonably competent

 attorney” and the advice was not “within the range of competence demanded of

 attorneys in criminal cases.” Id.

        The Strickland court further directed that judicial scrutiny of counsel’s

 performance must be highly deferential. Id., 406 U.S. at 689, 105 S.Ct. at 2065.

 The court explained the need for deference:

        It is all too tempting for a defendant to second-guess counsel’s
        assistance after conviction or adverse sentence, and it is all too easy
        for a court, examining counsel’s defense after it has proved
        unsuccessful, to conclude that a particular act or omission of counsel
        was unreasonable. A fair assessment of attorney performance
        requires that every effort be made to eliminate the distorting effects of
        hindsight, to reconstruct the circumstances of counsel’s challenged
        conduct and to evaluate the conduct from counsel’s perspective at the
        time. Because of the difficulties inherent in making the evaluation, a
        court must indulge a strong presumption that counsel’s conduct falls
        within the wide range of reasonable professional assistance; that is
        the defendant must overcome the presumption that, under the
        circumstances, the challenged action might be considered sound trial
        strategy.

  Id. (Citations omitted).

        In the context of a guilty plea, the Supreme Court has held as follows:

        [T]he two-part Strickland v. Washington test applies to challenges to
        guilty pleas based upon ineffective assistance of counsel. In the
        context of guilty pleas, the first half of the Strickland v. Washington
        test is nothing more than a restatement of attorney competence. . . .

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       The second, or “prejudice” requirement, on the other hand, focuses on
       whether counsel’s constitutionally ineffective performance affected
       the outcome of the plea process. In other words, in order to satisfy
       the “prejudice” requirement, the defendant must show that there is a
       reasonable probability that, but for counsel’s errors, he would not
       have pleaded guilty and would have insisted on going to trial.

 Hill v. Lockhart, 474 U.S. 52, 58-59, 106 S.Ct. 366, 370 (1985).

       The Sixth Circuit applied the foregoing standards in Sullivan v. United

 States, 11 F.3d 573 (6th Cir. 1993), a § 2255 case where, as in this case, the

 petitioner, challenged the length of his sentence by arguing ineffective assistance

 of counsel in connection with his having entered into a Rule 11 plea agreement.

 The district court denied Sullivan’s § 2255 motion and the Sixth Circuit affirmed,

 explaining:

              [P]etitioner’s claim fails to meet even the first prong of
       Strickland. There has been no showing that counsel’s performance
       was not competent. The record reveals that the district court
       discussed the terms of the plea agreement with petitioner and that
       he was informed of the possible sentence which he faced. These
       terms were discussed, in petitioner’s presence, in open court and
       on the record. There is no showing that petitioner was lied to or
       misled.

 Id. at 576 (emphasis added).

       As in Sullivan, there is no showing in this case that Defendant’s counsel

 was not competent. The record here reveals, just as the record did in Sullivan, that

 at his Plea Hearing, Defendant Khan was advised in open court of the terms of the

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 plea agreement. And at the Plea Hearing, Khan affirmatively stated that he was

 satisfied with the advice and representation of his counsel.

       During the Plea Hearing, the Court extensively questioned Mr. Khan

 regarding the assistance he received from his counsel; the making of his plea and

 his plea agreement; and the activities in which he engaged which gave rise to the

 criminal charges against him.

       Under oath, Khan stated as follows about his representation:

       THE COURT:          You have [your attorney] Mr. White representing you
                           here today.

       THE DEFENDANT: Yes, sir.
                                          ***
       THE COURT:          All right. Have you had a chance to have him
                           explain all of the charges against you and ask him
                           any questions you may have?

       THE DEFENDANT: Yes, sir.

       THE COURT:          Did he answer your questions to your satisfaction?

       THE DEFENDANT: Yes, sir.

       THE COURT:          Are you satisfied you understand the charge?

       THE DEFENDANT: Yes, sir.

       THE COURT:          Did you also have a chance to talk to Mr. White
                           and discuss with him the plea agreement that you
                           signed?


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       THE DEFENDANT: Yes, sir.

       THE COURT:       Did you have a chance to ask him questions about
                        the provisions of the plea agreement?

       THE DEFENDANT: Yes, sir.

       THE COURT:       Did he answer the questions about the plea
                        agreement to your satisfaction?

       THE DEFENDANT: Yes, sir.

       THE COURT:       Are you satisfied you understand all of the
                        provisions of the plea agreement, your obligations
                        and responsibilities under it, the government’s
                        obligations and responsibilities?

       THE DEFENDANT: Yes, sir.

       THE COURT:       All right. Are you satisfied with the advice that
                        Mr. White has given you in this case?

       THE DEFENDANT: Yes sir.

       THE COURT:       Are you satisfied with his representation of you
                        generally?

       THE DEFENDANT: Yes, sir.

       THE COURT:       Do you have any complaints about Mr. White’s
                        representation of you in this case that you want to
                        bring to my attention before we go forward here
                        today?

       THE DEFENDANT: No, sir.

       THE COURT:       I assume then from your answers that you’re

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                           satisfied to have Mr. White represent you here
                           today as you tender a guilty plea, is that true?

       THE DEFENDANT: That’s true.

 [6/26/12 Plea Hearing Tr., pp. 10-12.]

       In light of his under-oath statements of his satisfaction with the

 effectiveness of his representation of counsel, Defendant Khan cannot not now be

 heard to claim his counsel was ineffective.

       The record further demonstrates the lack of factual merit in Defendant

 Khan’s claim regarding his counsel’s alleged failure to advise him that the charge

 to which he pled guilty in the plea agreement would result in a higher Guidelines

 range than the offense charged in Count 1 of the First Superseding Indictment.

 The record clearly establishes that the offense to which Defendant pled guilty to in

 the plea agreement was the same offense alleged in Count 1 of the indictment, i.e.,

 conspiracy to commit health care fraud. Compare Plea Agreement, Dkt. # 237, pp.

 1-2, with First Superseding Indictment, Dkt. # 84, ¶ 36. Moreover, at the plea

 hearing, Khan was specifically informed that Count One of the First Superseding

 Indictment, conspiracy to commit health care fraud carries a statutory maximum

 sentence of “ten years imprisonment, a fine of $250,000 or twice the pecuniary

 gain or loss, and a three year term of supervised release” but that pursuant to the


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 plea agreement, Defendant Kahn and the Government agreed to a Guidelines

 sentence of “57-71 months imprisonment,” which is plainly substantially less than

 the statutory maximum sentence he could have received for Count 1. See 6/26/12

 Plea Hearing Tr., pp. 13, 21, 23. See also 18 U.S.C. §§ 1347(a), 1349; U.S.S.G.

 §§ 2B1.1, 2X1.1.

       Defendant’s second ineffective assistance of counsel claim likewise lacks

 merit. In his second claim, Khan argues that his counsel was ineffective for not

 informing him that the government had failed to prove all elements of the

 conspiracy offense. However, Khan obviously overlooks the fact that at the plea

 hearing he was explicitly informed that by pleading guilty he was giving up the

 right to require the government to prove its case against him beyond a reasonable

 doubt, and he affirmatively stated, under oath, that he understood he was giving up

 that right, but still wanted to plead guilty. [See Plea Hrg. Tr., pp. 15-16.]

       Moreover, Khan’s plea agreement laid out the elements of the offense

 alleged in Count 1 and the factual basis supporting those elements and the loss

 amount. See Plea Agr., Dkt. # 237, pp. 1-4. At the plea hearing, Khan stated

 under oath that he had read and understood the plea agreement, had reviewed it

 with counsel, and agreed that a summary of the factual basis provided by the

 Government at the hearing was accurate. [See Plea Hrg. Tr., pp. 21-22, 24; see

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  also pp. 30-31 (the Court “finds that by [Defendant’s] voluntary testimony [he

  has] made out all of the elements or parts of the crime that [he has] now pled

  guilty to.”) And, “a guilty plea is an admission of all the elements of a formal

  criminal charge.” McCarthy v. United States, 394 U.S. 459, 466 (1969).

        In sum, the Court finds no merit in Defendant’s claim that his counsel was

  ineffective by not explaining to him that the government had failed to prove all

  elements of the health fraud conspiracy.

        Khan also claims his counsel was ineffective by failing to negotiate a more

  favorable plea offer than the one to which he agreed to accept. However, Khan’s

  claim is based purely on the speculation that a better plea offer could be had, and

  “ineffective assistance claims do not turn on such speculative considerations.”

  Short v. United States, 471 F.3d 686, 697 (6th Cir. 2006).

        Khan offers no evidence suggesting that a more favorable offer from the

  Government would have been forthcoming. In fact, the record indicates

  otherwise. The Government made one plea offer to Defendant Khan , and by the

  time Khan engaged in plea negotiations, the Government’s case was already very

  strong because multiple co-defendants, including Defendants Rahman and

  Yousafzai, with who Defendant Khan was directly involved, were already

  cooperating. See Sentencing Tr., pp. 24-25.

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        Furthermore, the plea offers extended to (and accepted by) Kahn’s

  similarly-situated co-defendants were enhanced based on money laundering -- one

  of the charges against Defendant Kahn that was dismissed as part of his plea

  agreement, which itself carries a 20-year statutory maximum sentence. Thus, the

  one-count plea offer that Kahn accepted was for a sentence significantly less

  severe than what he would have faced had he gone to trial or pleaded guilty

  without the stipulated sentencing range, and less severe than what a number of his

  co-defendants who pled guilty received.

        The Government also told the Court at Defendant Khan’s sentencing that

  despite offers of cooperation extended by counsel, it was skeptical that Khan could

  provide useful cooperation (in exchange for a lower sentence) because it did not

  believe that his prior statements were truthful. See Sentencing Tr., pp. 24-25.

  Consequently, even assuming that defense counsel’s performance was in some

  way defective, Defendant has not and cannot meet his burden under Strickland to

  show that the results of the plea negotiations would have been different had he

  received more effective representation.

        Khan also claims that his attorney was ineffective when he failed to file an

  written objections to the Pre-Sentence Investigation Report, specifically as to the

  calculation of the amount of loss. Khan’s argument on this ground fails because

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  his counsel orally raised -- and the Court considered -- Khan’s objections to the

  PSR during sentencing, and with respect to the loss calculation, specifically, the

  plea agreement foreclosed any objection to the Guidelines calculation. Courts are

  entitled to rely on a defendant’s admissions in the plea agreement and plea

  colloquy in determining that the loss amount stated in the plea agreement is

  accurate. United States v. Shabazz, 530 F. App’x 458, 463-64 (6th Cir. 2013).

        In this case, Defendant stated under oath that he had read and understood

  the plea agreement, had reviewed it with counsel, and agreed that a summary of

  the factual basis provided by the Government at the plea hearing was accurate.

  See Plea Hrg. Tr., pp. 21-22, 24. The Court found that Defendant entered into the

  plea agreement knowingly and voluntarily, and accepted it at sentencing. See Plea

  Tr., pp. 30-31, Sentencing Tr., p. 38. Consequently, Defendant’s counsel did not

  provide deficient representation by not objecting to the Guidelines loss calculation

  stipulated to by his client. See United States v. Putrous, 2010 WL 3582388 at * 6-

  7 (E.D. Mich. Sept. 10, 2010); United States v. Miller, 2009 WL 579359 at * 9

  (E.D. Mich. Feb. 26, 2009).

        Defendant’s final ineffective assistance claim is that his counsel failed to

  object to the Court’s failure to calculate the Guidelines range and consider the

  sentencing factors set forth in 18 U.S.C. § 3553(a), thereby failing to preserve

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  those purported errors for purposes of appeal. Defendant’s claim is meritless

  because the alleged errors are contradicted by the record and, therefore, any such

  objections and resulting appeal would have been futile. Moreover, Defendant

  would have been precluded from raising the issues he claims were not preserved

  because he waived his right to appeal.

        Fed. R. Crim. P. 11(c)(1)(C) permits the parties to “agree that a specific

  sentence or sentencing range is the appropriate disposition of the case.” The Rule

  further states that “such a recommendation or request binds the court once the

  court accepts the plea agreement.” Id. Given that the Court found the Defendant

  Khan knowingly and voluntarily entered into a plea agreement that specified a

  Guidelines range pursuant to Rule 11(c)(1)(C) and that the parties were precluded

  from taking a position on the Guidelines range different from that taken in the plea

  agreement, any objection to the Court’s adoption of the Guidelines range would

  have been futile. Defendant’s counsel’s failure to raise a futile objection does not

  constitute performance falling below “prevailing professional norms.” Strickland,

  466 U.S. at 688.

        Furthermore, Section 3443(a) does not require that a court make specific

  findings related to each of the sentencing factors considered. United States v.

  Bolds, 511 F.3d 568, 580 (6th Cir. 2007). Rather, a court need only provide an

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  “articulation of the reasons the district court reached the sentence ultimately

  imposed.” United States v. Jackson 408 F.3d 301, 305 (6th Cir. 2005). The

  record here shows that the Court provided such reasons. See e.g., Sentencing Tr.

  at pp. 10-11 (considering Defendant’s personal history); p. 16 (noting that the

  Court reviewed letters received on behalf of Defendant); pp. 29-31 (considering,

  inter alia, the scope of the fraud, Defendant’s background and financial situation,

  Defendant’s culpability relative to co-defendants already sentenced, and the need

  to safeguard national health care resources). Counsel thus did not render

  ineffective assistance by failing to raise an objection that was not contradicted by

  the record.

        Moreover, Defendant cannot have been prejudiced by any failure of counsel

  to preserve the issues for appeal because, as indicated, Defendant waived his right

  to appeal. See Plea Agreement, p. 7. Defendant was advised of and

  acknowledged the waiver provision during the plea hearing, see Plea Hrg. Tr. pp.

  24, 26, and did not then, nor does he now contend that he entered into the

  appellate waiver unknowingly. Accordingly, Defendant was not prejudiced by the

  failure to preserve an appellate claim that he was foreclosed from raising.

  B.    DEFENDANT’S ALLEYNE CLAIM

        In Alleyne v. United States, the Supreme Court held that, pursuant to the

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  Sixth Amendment, any fact that enhances the statutory mandatory minimum is an

  element of the offense that must be found beyond a reasonable doubt by the jury.

  133 S.Ct. at 2162. Defendant Khan claims that Alleyne foreclosed the sentencing

  enhancements that increased his Guidelines range to 57-71 months. Alleyne,

  however, is inapplicable where Defendant did not face any mandatory minimum

  sentence.

        Furthermore, Alleyne does not apply where, as here, the defendant admits to

  the facts underlying the enhancement. See United States v. Yancy, 725 F.3d 596,

  601 (6th Cir. 2013) (Alleyne does not apply “when a defendant knowingly admits

  the facts necessary for a sentence enhancement in the context of a plea,

  simultaneously waiving his Sixth Amendment right to a jury trial.”); see also

  United States v. Johnson, 732 F.3d 584 (6th Cir. 2013) (no constitutional error

  when statutory mandatory minimum was increased based on a fact “charged in the

  indictment and established as part of his guilty plea.”) Defendant Khan having

  knowingly waived his right to trial by jury and having agreed to the terms of the

  plea agreement -- including the Guidelines range of 57-71 months and the factual

  basis supporting the enhancements -- cannot now claim that those facts should

  have been found by a jury.

        In any event, even if Defendant had not admitted the facts underlying his

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  sentencing enhancements, he cannot now rely on Alleyne because Alleyne was

  decided after Defendant’s sentence became final and does not apply retroactively

  on collateral review. See United States v. Rogers, 561 F. App’x 440, 442 (6th Cir.

  2014); United States v. Winkelman, 746 F.3d 134, 136 (3dh Cir. 2014); United

  States v. Redd, 735 F.3d 88, 91-92 (2d Cir. 2013); Simpson v. United States, 721

  F.3d 875, 876 (7th Cir. 2013).

        For all of the foregoing reasons, the Court concludes that Defendant Khan is

  not entitled to relief from the sentence imposed upon him. Accordingly,

  Defendant’s § 2255 Motion will be DENIED.

        The Court will also deny a certificate of appealability. Before a Section

  2255 movant may appeal an adverse decision, a certificate of appealability must

  issue. 28 U.S.C. § 2253(c)(1)(a); Fed. R. App. P. 22(b). In order to obtain a

  certificate of appealability, a prisoner must make a substantial showing of the

  denial of a constitutional right. 28 U.S.C. § 2253(c)(2). To demonstrate this

  denial, the applicant is required to show that reasonable jurists could debate

  whether, or agree that, the matter should have been resolved in a different manner,

  or that the issues presented were adequate to deserve encouragement to proceed

  further. Slack v. McDaniel, 529 U.S. 473, 483-84 (2000). When a district court

  rejects a habeas petitioner’s constitutional claims on the merits, the petitioner must

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  demonstrate that reasonable jurists would find the district court’s assessment of

  the constitutional claims to be debatable or wrong. Id. at 484. “The district court

  must issue or deny a certificate of appealability when it enters a final order adverse

  to the applicant.” Rules Governing § 2255 Cases, Rule 11(a), 28 U.S.C. foll. §

  2255.         For the reasons stated in this Opinion, the Court will deny Defendant

  Khan a certificate of appealability because he has failed to make a substantial

  showing of the denial of a federal constitutional right. The Court also will deny

  leave to appeal in forma pauperis as an appeal cannot be taken in good faith. Fed.

  R. App. P. 24(a).

                                     CONCLUSION

          For all of the reasons set forth above in this Opinion and Order,

          IT IS HEREBY ORDERED that Defendant Khan’s § 2255 Motion to

  Vacate his Sentence [Dkt. No. 399] is DENIED, and his Motion for Merit Ruling

  and Disposition [Dkt. # 562] and Second Motion for Merit Ruling and Disposition

  [Dkt. #587] are denied as MOOT. Accordingly,

          IT IS FURTHER ORDERED that Civil Action No. 14-cv-11919 is

  DISMISSED, with prejudice.




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        IT IS FURTHER ORDERED that a Certificate of Appealability is DENIED.

  Leave to appeal in forma pauperis also is DENIED.


                           s/Gerald E. Rosen
                           United States District Judge


  Dated: November 10, 2016



  I hereby certify that a copy of the foregoing document was served upon the parties
  and/or counsel of record on November 10, 2016, by electronic and/or ordinary
  mail.

                           s/Julie Owens
                           Case Manager, (313) 234-5135




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